
 1  The People of the State of Colorado, Appellee,  In the Interest of Z.P., a Child,  and  Concerning A.F. and T.P., Appellants. No. 21CA0729Court of Appeals of Colorado, Fourth DivisionJanuary 20, 2022
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
               
      Arapahoe County District Court No. 19JV779 Honorable Bonnie
      H. McLean, Judge
    
    
               
      OPINION
    
    
                GROVE
      JUDGE
    
    
               JUDGMENT
      AFFIRMED
    
    
               
      Richman and Tow, JJ., concur
    
    